         Case 23-11013-amc                     Doc       Filed 06/05/24 Entered 06/05/24 11:18:28                              Desc Main
 Fill in this information to identify the case:          Document      Page 1 of 7
 Debtor 1              Derek Craig Gibbs, Jr.
                       __________________________________________________________________

 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                         __________
 United States Bankruptcy Court for the: Eastern District       of __________
                                                          of Pennsylvania
                                                       District

 Case number            23-11013
                        ___________________________________________




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                           12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


                   Pentagon Federal Credit Union
 Name of creditor: _______________________________________                                                        7
                                                                                     Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                              Date of payment change:
 identify the debtor’s account:                           7 ____
                                                         ____ 7 ____
                                                                 4 ____
                                                                     4               Must be at least 21 days after date        07/01/2024
                                                                                                                                _____________
                                                                                     of this notice


                                                                                     New total payment:                                 726.34
                                                                                                                                $ ____________
                                                                                     Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
       No
      
      ✔ Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                   the basis for the change. If a statement is not attached, explain why: ___________________________________________
                   __________________________________________________________________________________________________

                                                    308.20
                   Current escrow payment: $ _______________                       New escrow payment:                   454.76
                                                                                                               $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
      ✔ No
      
       Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                   attached, explain why: _______________________________________________________________________________
                   __________________________________________________________________________________________________

                   Current interest rate:         _______________%                 New interest rate:          _______________%

                   Current principal and interest payment: $ _______________       New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      ✔ No
      
       Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                   (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                     New mortgage payment: $ _______________


Official Form 410S1                                          Notice of Mortgage Payment Change                                             page 1
          Case 23-11013-amc                   Doc           Filed 06/05/24 Entered 06/05/24 11:18:28                       Desc Main
                                                            Document      Page 2 of 7

Debtor 1         Derek      Craig    Gibbs
                 _______________________________________________________                                  23-11013
                                                                                       Case number (if known) _____________________________________
                 First Name   Middle Name      Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

     ✔ I am the creditor.
     
      I am the creditor’s authorized agent.


 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 /s/ Maurice D. Lowe
     _____________________________________________________________
     Signature
                                                                                       Date    06/04/2024
                                                                                               ___________________




 Print:            Maurice D. Lowe
                   _________________________________________________________           Title   Bankruptcy   & Foreclosure Mortgage Analyst
                                                                                               ___________________________
                   First Name                 Middle Name       Last Name



 Company           Pentagon Federal Credit Union
                   _________________________________________________________



 Address           6191 N SH 161 Service RD
                   _________________________________________________________
                   Number            Street

                   Irving                           TX      75038
                   ___________________________________________________
                   City                                         State       ZIP Code



 Contact phone     726-207-6240
                   ________________________                                                   MortgageBankruptcy@penfed.org
                                                                                       Email ________________________




Official Form 410S1                                           Notice of Mortgage Payment Change                                           page 2

     Print                         Save As...                    Add Attachment                                                      Reset
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    Nqemdqz!Pwodgt!78;371
    2311!G!Ecordgnn!Tf-!Uwkvg!219!
    Tkejctfuqp-!VZ!!86192.2;74                                                     Cpcn{uku!Fcvg<!                           Oc{!32-!3135!
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    Tgvwtp!Ugtxkeg!Tgswguvgf                                                       Oqtviciqt!Pcog<                     FGTGM!ETCKI!IKDDU
                                                                                   Ewuvqogt!Ugtxkeg<                       2.911.696.;166!
                                                                                   Qpnkpg!Ceeqwpv!Ceeguu<                 yyy/RgpHgf/qti

    FGTGM!ETCKI!IKDDU
    231;!JKIJNCPF!CXG
    EJGUVGT-!RC!2;124




 Gcej!{gct!RgpHgf!Etgfkv!Wpkqp!tgxkgyu!{qwt!guetqy!ceeqwpv!vq!fgvgtokpg!{qwt!pgy!oqpvjn{!guetqy!rc{ogpv/!Cu!{qw!oc{
 mpqy-!yg!eqnngev!hwpfu!cpf!jqnf!vjgo!kp!{qwt!guetqy!ceeqwpv!vq!rc{!{qwt!rtqrgtv{!vczgu-!hnqqf!kpuwtcpeg!)kh!tgswktgf*-
 jqogqypgt(u!kpuwtcpeg!rtgokwou-!ngcugjqnf!rc{ogpv!)kh!crrnkecdng*!cpf!oqtvicig!kpuwtcpeg!rtgokwou!qp!{qwt!dgjcnh/!Dgnqy
 ctg!cpuygtu!vq!vjg!oquv!eqooqpn{!cumgf!swguvkqpu!yg!tgegkxg!cdqwv!vjg!cppwcn!guetqy!cpcn{uku!cpf!vjg!fgvcknu!tgncvgf!vq!{qwt
 ceeqwpv/

 2/!Yjcv!ku!vjg!coqwpv!qh!o{!pgy!oqpvjn{!rc{ogpv!uvctvkpi!Lwn{!12-!3135A
                                                             Ewttgpv!Rc{ogpv
                     Rc{ogpv!Kvgou                      )dcugf!qp!ncuv!cpcn{uku*      Pgy!Rc{ogpv       Fkhhgtgpeg
                     Rtkpekrcn!cpf!Kpvgtguv                             %382/69             %382/69           %1/11
                     Guetqy                                              419/31              447/91           39/71
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     wrfcvg!vjg!coqwpv!uejgfwngf!hqt!uwdokuukqp!qp!1801203135!vq!tghngev!vjg!pgy!rc{ogpv!nkuvgf!cdqxg/!Kh!{qw!ctg!ewttgpvn{
     ugv!wr!qp!CEJ!ftchv!ykvj!RgpHgf!Etgfkv!Wpkqp-!vjku!pgy!coqwpv!yknn!cwvqocvkecnn{!vcmg!ghhgev!ykvj!{qwt!1801203135!ftchv/

  3/!Yjcv!ctg!vjg!oquv!eqooqp!tgcuqpu!vjcv!o{!guetqy!rc{ogpv!oc{!ejcpig!htqo!{gct!vq!{gctA
  !!!!!!!!!!!!!!!!!!!!!!!

   C/ Kpetgcugu!qt!Fgetgcugu!kp!Coqwpvu!Dknngf!!Vjg!coqwpv!yg!eqnngev!gcej!oqpvj!vq!dg!jgnf!kp!{qwt!guetqy!ceeqwpv
      oc{!ejcpig!dcugf!qp!kpetgcugu!qt!fgetgcugu!vq!{qwt!rtqrgtv{!vczgu-!Rtkxcvg!Oqtvicig!Kpuwtcpeg)ROK*-!cpf
      jqogqypgtu!kpuwtcpeg!rtgokwou/!!Vjg!kphqtocvkqp!dgnqy!eqorctgu!vjg!coqwpvu!RgpHgf!Etgfkv!Wpkqp!gzrgevu!vq!rc{
      hqt!gcej!kvgo!htqo!{qwt!guetqy!ceeqwpv!vq!vjg!cevwcn!coqwpvu!vjcv!ygtg!rckf!qt!yknn!dg!fwg/!!Vjg!fkhhgtgpeg!eqnwop
      tghngevu!vjg!kpetgcug!qt!fgetgcug!hqt!gcej!guetqygf!kvgo/
                                                                Cpvkekrcvgf        Cevwcn!Coqwpvu
                     Guetqygf!Kvgo                             Coqwpvu!Fwg            Rckf!qt!!Fwg     Fkhhgtgpeg
                     EKV[!VCZ                                         %912/51             %961/51             %5;/11
                     EQWPV[!VCZ                                       %281/28             %289/79              %9/62
                     JC\CTF!KPU                                     %3-158/11            %3-77;/11           %733/11
                     UEJQQN!VCZ                                       %78;/;6             %454/59           .%447/58
                     Vqvcn!Cppwcn!Guetqy!Rc{ogpvu                   %4-7;9/63            %5-152/67          %454/15



   D/ Tgrc{ogpv!qh!Guetqy!Ujqtvcig!qt!Uwtrnwu!.!Ceeqtfkpi!vq!vjg!rtqlgevkqpu!ujqyp!kp!Vcdng!2!qp!vjg!tgxgtug!ukfg-
      {qwt!guetqy!ceeqwpv!yknn!hcnn!dgnqy!vjg!okpkowo!tgswktgf!dcncpeg!qh!%784/6;!kp!Crtkn/!Vjku!ogcpu!{qw!jcxg!c!
      ujqtvcig!qh!%2-526/62!kp!{qwt!guetqy!ceeqwpv/
       Hgfgtcn!ncy!)TGURC*!cnnqyu!ngpfgtu!vq!ockpvckp!c!vyq!oqpvj!ewujkqp!kp!cp!guetqy!ceeqwpv/!Vjg!ewujkqp!jgnru
       okpkok|g!vjg!coqwpv!{qwt!guetqy!ceeqwpv!eqwnf!dg!qxgtftcyp!kh!vcz!qt!kpuwtcpeg!rc{ogpvu!kpetgcug/




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     Nqcp!Pwodgt<!          8855                                             !!
     Pcog<    FGTGM!ETCKI!IKDDU
                                                                             Vjg!vqvcn!ujqtvcig!jcu!dggp!urtgcf!qxgt!23!oqpvj)u*!cpf!
     Ujqtvcig!Coqwpv<!!%2-526/62                                             %228/;7!yknn!cwvqocvkecnn{!dg!cffgf!vq!{qwt!oqpvjn{
                                                                             rc{ogpv!ghhgevkxg!Lwn{!12-!3135/
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      FGTGM!ETCKI!IKDDU                Doc          Filed 06/05/24 Entered 06/05/24 11:18:28          Desc Main
                                                                                            Nqcp!Pwodgt<!        8855
                                                    Document      Page 4 of PGY!RC[OGPV!GHHGEVKXG!FCVG<!Lwn{!12-!3135
                                                                            7
                                    GUETQY!CEEQWPV!RTQLGEVKQPU!CPF!CEVKXKV[!JKUVQT[
         !
         Vcdng!2!ujqyu!c!oqpvj!d{!oqpvj!guvkocvg!qh!vjg!cevkxkv{!yg!cpvkekrcvg!yknn!qeewt!kp!{qwt!guetqy!ceeqwpv!qxgt!vjg!pgzv!23
         oqpvju/!!Vjku!vcdng!ujqyu!vjg!rtqlgevgf!nqy!dcncpeg!rqkpv!vjcv!ku!wugf!vq!ecnewncvg!cp!guetqy!uwtrnwu!qt!ujqtvcig/
         VCDNG!2!.!CEEQWPV!RTQLGEVKQPU
                                                        Rc{ogpvu            Fkudwtugogpvu           Vqvcn               Okpkowo!
          Oqpvj            Fguetkrvkqp                  Guvkocvg            Guvkocvg                Dcncpeg             Tgswktgf         Fkhhgtgpeg
                        Dgikppkpi!Dcncpeg                                                               .%743/87
          Lwn{                                              447/91                1/11                   .3;6/;7            784/6;              .;7;/66
          Cwiwuv         UEJQQN!VCZ                         447/91              454/59                   .413/75            784/6;              .;87/34
          Ugrvgodgt                                         447/91                1/11                     45/27            784/6;              .74;/54
          Qevqdgt                                           447/91                1/11                    481/;7            784/6;              .413/74
          Pqxgodgt                                          447/91                1/11                    818/87            784/6;                45/28
          Fgegodgt                                          447/91                1/11                  2-155/67            784/6;               481/;8
          Lcpwct{        JC\CTF!KPU                         447/91            3-77;/11                 .2-398/75            784/6;            .2-;72/34
          Hgdtwct{                                          447/91                1/11                   .;61/95            784/6;            .2-735/54
          Octej          EQWPV[!VCZ                         447/91              289/79                   .8;3/83            784/6;            .2-577/42
          Crtkn          EKV[!VCZ                           447/91              961/51                 .2-417/43            784/6;            .2-;8;/;2
          Oc{                                               447/91                1/11                   .;7;/63            784/6;            .2-754/22
          Lwpg                                              447/91                1/11                   .743/83            784/6;            .2-417/42
          VQVCN                                          %5-152/71           %5-152/67
     !
     ++Nqy!Dcncpeg!wugf!vq!fgvgtokpg!guetqy!uwtrnwu!qt!ujqtvcig/
     Hgfgtcn!ncy!)TGURC*!cnnqyu!ngpfgtu!vq!ockpvckp!c!vyq!oqpvj!ewujkqp!kp!cp!guetqy!ceeqwpv/!C!nqygt!ewujkqp!oc{!dg!tgswktgf!wpfgt
     uvcvg!ncy/!Vjg!ewujkqp!jgnru!okpkok|g!vjg!coqwpv!{qwt!guetqy!ceeqwpv!eqwnf!dg!qxgtftcyp!kh!vcz!qt!kpuwtcpeg!rc{ogpvu!kpetgcug/

     Vcdng!3!kvgok|gu!{qwt!cevwcn!guetqy!ceeqwpv!vtcpucevkqpu!ukpeg!{qwt!rtgxkqwu!cpcn{uku!uvcvgogpv!qt!kpkvkcn!fkuenquwtg/!Ncuv!{gctu
     guvkocvgu!ctg!pgzv!vq!vjg!cevwcn!cevkxkv{/!Cp!cuvgtkum!)+*!kpfkecvgu!c!fkhhgtgpeg!dgvyggp!vjg!guvkocvgf!cpf!cevwcn!rc{ogpvu!cpf
     fkudwtugogpvu/!Vjg!ngvvgt!(G(!dgukfg!cp!coqwpv!kpfkecvgu!vjcv!vjg!rc{ogpv!qt!fkudwtugogpv!jcu!pqv!{gv!qeewttgf-!dwv!ku!guvkocvgf!vq
     qeewt!cu!ujqyp/

     VCDNG!3!.!GUETQY!CEVKXKV[!JKUVQT[!
     Oqpvj                                                 Rc{ogpvu              !Rtqlgevgf!Fkudwtugogpvu                     Vqvcn!Dcncpeg
     Jkuvqt{          Fguetkrvkqp                            Cevwcn                         Cevwcn                                Cevwcn
     Lwn{                                                    .385/65!+                            1/11!!                           .39;/83!
     Cwiwuv            UEJQQN!VCZ                             727/51!+                          454/59!+                            .27/91!
     Ugrvgodgt                                                419/31!!                            1/11!!                            3;2/51!
     Qevqdgt                                                  419/31!!                            1/11!!                            6;;/71!
     Pqxgodgt                                                 419/31!!                            1/11!!                            ;18/91!
     Fgegodgt                                                 419/43!+                            1/11!!                          2-327/23!
     Lcpwct{           JC\CTF!KPU                             419/31!!                        3-77;/11!+                         .2-255/79!
     Hgdtwct{          EQWPV[!VCZ                             419/31!!                          289/79!+                         .2-126/27!
     Octej             EQWPV[!VCZ                             419/31!!                            1/11!+                           .817/;7!
     Crtkn             EKV[!VCZ                               419/31!!                          961/51!+                         .2-35;/27!
     Oc{                                                      419/31!!                            1/11!!                           .;51/;7!
     Lwpg                                                     419/31!G                            1/11!!                           .743/87!
     VQVCN                                                 %4-534/;9                         %5-152/67                                        !




   7JC?QC!PCR?GL!RFGQ!QR?RCKCLR!DMP!AMKN?PGQML!UGRF!RFC!?ARS?J!?ARGTGRW!GL!WMSP!?AAMSLR!?R!RFC!CLB!MD!RFC!LCVR!CQAPMU!?AAMSLR!AMKNSR?RGML!WC?P$!3D!WMS!F?TC
   ?L!OSCQRGMLQ"!NJC?QC!AMLR?AR!SQ!?R!&#-%%#*-*#.%**$

   7CL2CB!0PCBGR!<LGML!K?W!@C!?RRCKNRGLE!RM!AMJJCAR!?!BC@R"!?LB!?LW!GLDMPK?RGML!M@R?GLCB!K?W!@C!SQCB!DMP!RF?R!NSPNMQC$!3D!WMS!MP!WMSP!?AAMSLR!?PC!QS@HCAR
   RM!NCLBGLE!@?LIPSNRAW!MP!RFC!M@JGE?RGML!PCDCPCLACB!GL!RFGQ!JCRRCP!F?Q!@CCL!BGQAF?PECB!GL!@?LIPSNRAW"!RFGQ!QR?RCKCLR!GQ!DMP!GLDMPK?RGML?J!NSPNMQCQ!MLJW
   ?LB!GQ!LMR!?L!?RRCKNR!RM!AMJJCAR!?!BC@R$!
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                           (N>MQ>JPHU"#OG>="1Q>OPEKJO"9;KQP"UKQN"'O<NKS"#<<KQJP"
       "
       .5/?"6>"/9"&>0=;B"#00;@9?E""
       #J"'O<NKS"#<<KQJP"EO"9"H>J=>N\D>H="9<<KQJP"PK"DKH="IKJE>O"EJ""&#%$'"PK"L9U"P9T>OW"EJOQN9J<>""
       KN"KPD>N">O<NKS>="EP>IOY""6EPD">9<D"IKNPC9C>"L9UI>JPW"UKQ"L9U"EJ"9"LKNPEKJ"K?"PD>">OPEI9P>=""
       9JJQ9H"<KOP"K?"PD>"EP>IO"S>">TL><P"PK"L9U"?NKI"UKQN">O<NKS"9<<KQJPY""4DEO"EO"EJ"9==EPEKJ"PK"PD>""
       LNEJ<EL9HW"EJP>N>OPW"9J=[KN"9JU"?>>O"=Q>"EJ"PD>"N>CQH9NHU"O<D>=QH>="L9UI>JPY"
       "
       .5/?"1;2>"+29'21"</D"3=;8"8D"&>0=;B"#00;@9?E""
       &>L>J=EJC"KJ"SD9P"EP>IO"9N>"O>P"QL"9O">O<NKS>=W"PD>"?QJ=O"EJ"UKQN"'O<NKS"#<<KQJP"I9U";>""
       QO>="PK"L9U"LNKL>NPU"P9T>OW"DKI>KSJ>NZO"EJOQN9J<>W"BKK="EJOQN9J<>W"9J=[KN"IKNPC9C>""
       EJOQN9J<>Y"
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       .5/?"1;2>"+29'21")*-"</D"3=;8"8D"&>0=;B"#00;@9?E""
       4ULE<9HHUW"PD>"?KHHKSEJC"EP>IO"9N>"458"L9E="?NKI"UKQN"'O<NKS"#<<KQJPX"DKI>KSJ>NZO"9OOK<E9PEKJ""
       ?>>OW"OQLLH>I>JP9H"P9T>OW"OL><E9H"9OO>OOI>JP"LNKL>NPU"P9T>OW"9J=[KN"QJN>H9P>="EJOQN9J<>""
       LN>IEQIOY"
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       .5/?"6>"/9"#99@/7"&>0=;B"#00;@9?"%6>07;>@=2",?/?2829?E""
       '9<D"U>9NW"0>J(>="N>RE>SO"UKQN"'O<NKS"#<<KQJP"PK">JOQN>"PD>N>"9N>"OQA<E>JP"?QJ=O"PK"L9U""
       UKQN"P9T>O"9J=[KN"EJOQN9J<>Y""4D>"#JJQ9H"&EO<HKOQN>"3P9P>I>JP"LNKRE=>O"UKQ"SEPD"'O<NKS""
       9<PEREPU"OEJ<>"UKQN"H9OP"'O<NKS"9J9HUOEOY""*J"9==EPEKJW"PD>"LN>REKQO"U>9NZO"'O<NKS"9<PEREPU"EO""
       EJ<HQ=>=Y""0>J(>="SEHH"LNKF><P"9<PEREPU"EJ"PD>"'O<NKS"#<<KQJP"?KN"PD>"J>TP"PS>HR>"^bc_"IKJPDOW""
       SDE<D"<N>9P>O"9"4/;"IKNPC9C>"L9UI>JP"9IKQJPY""4D>"J>S"L9UI>JP"P9G>O"EJPK"9<<KQJP"9JU""
       OQNLHQO"KN"ODKNP9C>Y""""
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       .5/?"6>"/"0@>56;9E"
       (>=>N9H",9S"^2'30#_"9HHKSO"H>J=>NO"PK"I9EJP9EJ"9"PSK"^c_"IKJPD"<QODEKJ"EJ"9J"'O<NKS"#<<KQJPY""4D>""
       9HHKPP>="<QODEKJ"EO"PD>"9IKQJP"K?"?QJ=O"O>P"9OE=>"PK"<KR>N"QJ9JPE<EL9P>=">TL>J=EPQN>OW"OQ<D"9O"9J""
       EJ<N>9O>"EJ"P9T";EHHO"KN"EJOQN9J<>"LN>IEQIOY""4D>"<QODEKJ"9IKQJP"SEHH"J>R>N">T<>>="KJ>\OETPD""
       ^b[f_"K?"UKQN"PKP9H"9JPE<EL9P>="=EO;QNO>I>JPO"?KN"PD>"<KIEJC"U>9NW"QJH>OO"UKQN"HK9J"=K<QI>JPO""
       KN"OP9P>"H9S"OL><E?E>O"9"HKS>N"9IKQJPY"
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       (3"("5/A2"/">5;=?/42F"8/D"("</D"6?">2</=/?27DE""
       8>OV""*?"UKQ"D9R>"9"ODKNP9C>"9J="S9JP"PK"L9U"EP"EJ\?QHHW"O>J="PD>"9==EPEKJ9H"?QJ=O"+QOP"O>J="PD>""
       9==EPEKJ9H"?QJ=O"SEPD"UKQN"IKJPDHU"L9UI>JP"KN"O>J="9"O>L9N9P>"<D><GY""*?"UKQ"<DKKO>"PDEO""
       KLPEKJW"UKQ"IQOP"EJ<HQ=>"EJOPNQ<PEKJO"KJ"DKS"UKQ"S9JP"UKQN"?QJ=O"9LLHE>=Y"
       "
       .677"("=2026A2"/"=23@91"63"("5/A2"/">@=<7@>E""
       *?"PD>"OQNLHQO"EJ"UKQN"'O<NKS"#<<KQJP"EO"CN>9P>N"PD9J"`eaYaaW"9J="UKQN"9<<KQJP"EO"<QNN>JPW"UKQ""
       I9U"N><>ER>"9"N>?QJ="<D><GY""#JU"OQNLHQO"9IKQJP"N>P9EJ>="EJ"UKQN"'O<NKS"#<<KQJP"I9U";>"QO>=""
       PK"N>=Q<>"PD>"'O<NKS"LKNPEKJ"K?"UKQN"IKJPDHU"L9UI>JPO"KR>N"PD>"J>TP"bc"^KN"?>S>N_"IKJPDOY""
       "
       $/9"("07;>2"8D"&>0=;B"/00;@9?"/91"</D"?/C2>"/91"69>@=/902"8D>273E""
       *J"OKI>"EJOP9J<>OW"9J"'O<NKS"#<<KQJP"I9U";>"<HKO>=Y"")KS>R>NW"<>NP9EJ"<NEP>NE9"IQOP";>"I>P"PK""
       ;>">HECE;H>Y""4K"=>P>NIEJ>">HECE;EHEPUW"LH>9O>"<KJP9<P"0>J(>="9P"b\haa\ehe\iaeeW"KN";U"O>J=EJC"9
       SNEPP>J"N>MQ>OP"PKX""

                                                   0>J(>="-KNPC9C>"3>NRE<EJC"""
                                                    ,K<G;KT".QI;>N"fgicfa"
                                                    bcaa"'"%9IL;>HH"2=W"3QEP>"
                                                       bah"2E<D9N=OKJW"47"
                                                          geahb\bifd""




           0>JP9CKJ"(>=>N9H"%N>=EP"5JEKJ""]""-KNPC9C>"3>NRE<EJC""]"",K<G;KT".QI;>N"fgicfa"bcaa"'"%9IL;>HH"2=W"3QEP>"bah"]"""2E<D9N=OKJW"47"
                                                                      geahb\bifd
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             )4./678+4.140"*596"&7-65;"#--5948"%17-25796/"'8+8/3/48"
                                                            "
                             #JJQ9H"'O<NKS"#<<KQJP"&EO<HKOQN>"3P9P>I>JP""
       "
       "
       "
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       "
       "                                                                        "
                                                                                "
                                                                                "
                                                                                "
                                                                                '/-8154"=<""4D>"9IKQJP"K?"UKQN"<QNN>JP"9J="
                                                                                J>S"IKNPC9C>"L9UI>JPW"EJ<HQ=EJC"PD>"
                                                                                >??><PER>"=9P>OW"9N>"LNKRE=>=Y""4DEO"O><PEKJ"SEHH"
                                                                                KQPHEJ>"PD>"LNEJ<EL9H"9J="EJP>N>OP"<D9JC>O"PD9P"
                                                                                D9R>"K<<QNN>="OEJ<>"UKQN"H9OP">O<NKS"9J9HUOEO"
                                                                                9J="PD>"9IKQJP"UKQ"L9U"EJPK"UKQN">O<NKS"
                                                                                9<<KQJPY"
                                                                                "
                                                                                '/-8154">Y#<""4D>"PKP9H"9IKQJP"0>J(>="
                                                                                9JPE<EL9P>="L9UEJC"?KN"UKQN">O<NKS>="EP>IO"
                                                                                9J="SD9P"S9O"9<PQ9HHU"L9E="?KN"UKQN">O<NKS>="
                                                                                EP>IO"EO"=EOLH9U>="D>N>Y""4D>"<9H<QH9PEKJ"EJ"
                                                                                3><PEKJ"$"SEHH"LNKRE=>"IKN>"QJ=>NOP9J=EJC"?KN"
                                                                                PD>">TEOPEJC"OQNLHQO"KN"ODKNP9C>Y
                                                                                "
                                                                                                                   "


                                                                                "




                                                                                '/-8154"><$<""*?"UKQ"D9R>"9"OQNLHQO"K?"H>OO"PD9J"
                                                                                `eaYaaW"PD>"?QJ=O"SEHH";>"9LLHE>="PK"UKQN"
                                                                                'O<NKS"#<<KQJPW">??><PER>HU"N>=Q<EJC"UKQN"
                                                                                L9UI>JPY""3>>"'/-8154"="9;KR>Y""*?"UKQ"D9R>"9"
                                                                                ODKNP9C>W"L9UI>JP"KLPEKJO"9N>"LNKRE=>=Y"
                                                                                "

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       "                                                                        "
       "
                                                                                (+,2/"=<""4D>"#.4*%*0#4'&"LNKF><PEKJO"PK";>"
       "                                                                        =EO;QNO>="?NKI"UKQN">O<NKS"9<<KQJP"KR>N"PD>"
       "                                                                        J>TP"bc"IKJPD">O<NKS"<U<H>"EO"HEOP>=Y""#"
       "                                                                        J>C9PER>"9IKQJP"EJ"PD>"=E@>N>J<>"<KHQIJ"
                                     "                                          EJ=E<9P>O"9J">O<NKS"ODKNP9C>Y"
                                                                                "
                                                                                "
                                                                                "
                                                                                (+,2/"><""4D>")*34/28"K?"SD9P"S9O"=EO;QNO>="
                                                                                ?NKI"UKQN">O<NKS"9<<KQJP"=QNEJC"PD9P"L9OP"
                                                                                <KILQP9PEKJ"U>9NW"SDE<D"EJ<HQ=>O"P9T>OW"
                                                                                EJOQN9J<>"LN>IEQIOW"IKNPC9C>"EJOQN9J<>W"
                                                                                9J=[KN"KPD>N"<D9NC>O"9N>"E=>JPE?E>="EJ"PD>"
                                                                                'O<NKS"#<PEREPU")EOPKNUY""4DEO"ODKSO"PD>"9<PQ9H"
                                                                                9IKQJP"=>LKOEP>="EJPK"UKQN"'O<NKS"#<<KQJP"
                                                                                >9<D"L9UI>JP"<U<H>"9J="=EO;QNO>I>JPOW"E?"
                                                                                9LLHE<9;H>Y"
                                                                                "




              0>JP9CKJ"(>=>N9H"%N>=EP"5JEKJ""]""-KNPC9C>"3>NRE<EJC""]"",K<G;KT".QI;>N"fgicfa"bcaa"'"%9IL;>HH"2=W"3QEP>"bah"]"""
       "                                                2E<D9N=OKJW"47"geahb\bifd"
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                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In Re: Derek Craig Gibbs, Jr.                                       Case Number: 23-11013
                                                                    Chapter 13

          Debtor(s)
                                    CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on June 4, 2024,
I Electronically filed the foregoing with the Clerk of Court using the CM/ECF system, and a true and
correct copy has been served via CM/ECF or United States Mail to the following parties:


Trustee:
Kenneth E. West
1234 Market Street
Suite 1813
Philadelphia, PA 19107
Debtor's Attorney:
Michael A. Cibik
1500 Walnut Street
Suite 900
Philadelphia, PA 19102
Debtor:
Derek Craig Gibbs, Jr.
1209 Highland Ave
Chester, PA 19013-1905
                                                                  /s/ Maurice D. Lowe__
                                                                  Maurice D. Lowe
                                                                  Bankruptcy Mortgage Analyst
                                                                  Pentagon Federal Credit Union
                                                                  6191 N. SH 161 Service RD.
                                                                  Irving, TX 75038
